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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0320CCC
 1) LUIS FIGUEROA-PAGAN
 2) GUSTAVO IRIZARRY-SANABRIA
 3) JOSE A. VELAZQUEZ-SEDA
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on September 28, 2012
(docket entry 48) on a Rule 11 proceeding of defendant Luis Figueroa-Pagán (1) held
before U.S. Magistrate Judge Silvia Carreño-Coll on September 18, 2012, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since September 18, 2012. The sentencing hearing is set for
December 19, 2012 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on October 22, 2012.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
